     Case 1:12-cr-00176-DHB-BKE Document 150 Filed 07/06/15 Page 1 of 1



                        UNITED STATESDISTRICT COURT
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                        SOUTHERNDISTRICT OF GEORGIA
                             AUGUSTADIVISION                            ?il5JUL-5 Ptf?:03
                                                                      ftse6 C RJa,.^5
 IN RE:                       ) CaseNos.:                     r r-" PP-lPfiP5*
                                                       cRr|2-176.
 LEAVEOFABSENCEREQUESTFOR )               CRII4-124,U.S.v. D.S.Winn
 LAMONTA.BELK                 )           CR        U.S.v. M. Williams,Jr.
                                             115-039,
 Jaly20-24 andJuly2? -28,2015
                              ]
                                           )



                                         ORDER

                       of the Motion for Leaveof Absencefiled by the United Statesof
      Upon consideration

Americain the above-citedcaseson behalfof AssistantUnitedStatesAttomeyLamontA. Belk

                                                                           outsideof the
for the following dates:July 20-24,alrtdhiy 27-28,2015,to attenda conference

                                  t}resameis herebyGRANTED.
districtandfor a medicalappointment;


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                                          ''
                                 Thist         dayof                           2015.




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